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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW HAMPSHIRE



 JOHN DOE,

                       Plaintiff,                         Civil Action No. 19-cv-000013-JL
        v.

TRUSTEES OF DARTMOUTH COLLEGE,

                       Defendant.



                 [AMENDED PROPOSED] PRELIMINARY INJUNCTION

       The Court, after hearing from the parties, has determined that plaintiff John Doe has

proven a likelihood of success on the following claims: 1) breach of contract; 2) breach of the

implied covenant of good faith and fair dealing; and 3) violation of Title IX of the Education

Amendments Act of 1972. The Court also finds that: John Doe will be irreparably harmed in the

absence of an injunction; the balance of equities weighs in favor of a preliminary injunction; and

a preliminary injunction is in the public interest.

       Accordingly, defendant Trustees of Dartmouth College (“Defendant”), its agents,

officials, employees or anyone acting on its behalf, is hereby enjoined from enforcing its

expulsion of John Doe pending a final resolution of this action. Defendant shall permit John Doe

to register for and attend classes, and to reside on campus and participate fully in campus

activities. Defendant shall ensure that John Doe’s absence from classes during the Winter Term

thus far is not held against him in any way, including in his academic courses and with respect to

his participation in campus activities.




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       John Doe is not required to pay any bond amount as security for the injunction because

no amount is proper. In the event Defendant is found to have been wrongly enjoined, any costs

and damages that it could conceivably incur as a result of its efforts to comply with this order

would be adequately compensated for by the amount that John Doe has already paid in tuition for

the Winter Term and any tuition that he will pay for any subsequent Terms. Accordingly, no

security is required under Rule 65(c).



Dated: January ___, 2019



_________________________________
United States District Judge



                                 CERTIFICATE OF SERVICE

       I, William E. Christie, hereby certify that a copy of the foregoing document, filed through
the CM/ECF system, will be sent electronically to the registered participants as identified on the
Notice of Electronic Filing (NEF).


                                                     /s/ William E. Christie
                                                     William E. Christie




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